
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00106-CR


______________________________




DARIN KEITH MARTIN, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 21st Judicial District Court


Burleson County, Texas


Trial Court No. 13,370




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Darrin Keith Martin appeals his convictions for forgery, fraudulent use of identifying
information, and forgery of a governmental record.  Three separate appeals arising from these
convictions are presently pending before this Court.  This appeal concerns Martin's conviction for
forgery of a governmental record. (1)

	Martin raises identical issues and makes identical arguments in all three of the appeals. 
Martin's sole issue on appeal is that the trial court erred in denying his motion to suppress the
evidence.   

	Because the issues raised in each appeal are identical, for the reasons stated in our opinion
dated this day in Martin v. State, No. 06-07-00104-CR, we affirm the judgment of the trial court.




						Bailey C. Moseley

						Justice


Date Submitted:	February 19, 2008

Date Decided:		March 27, 2008


Do Not Publish

1. Martin's forgery conviction was appealed in cause number 06-07-00104-CR, and his
conviction for fraudulent use of identifying information was appealed in cause number 06-07-00105-CR.


 STYLE="font-family: Times New Roman"&gt;						Donald R. Ross

						Justice


Date Submitted:	October 16, 2001

Date Decided:		October 16, 2001


Do Not Publish
1. This is an appeal transferred to this Court by the Texas Supreme Court for purposes of
docket equalization.


